Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 1 of 8                                      PageID #: 632




                                                                     Jones Lang LaSalle Amerioas, Retail
      |oNns Lexc                                                     Retail
                                                                     33,14 Peachtree Road, Suite l2(X), Atlanra"   GA   30326
      LAS^arrc.                                                      tel + L 4M 995 2100 fax  +l 404 233 0817

                           liiili IiEi ii' i i Hii iti:*? Lissi*Ls


      December 13,2011

      Charles R. Diard Jr.
      District Court Clerk
      US District Court
      Southern District of Alabama
      113 St. Joseph Street
      Mobile. AL36602


             Re:    Case   No. 11-00126-CG

      Dear Clerk of Court:

      Pursuant to the Court Order of the District Court for the Southern District of
      Alabama, Southern Division, entered on April lI,20Il ("Receiver Order"), Greg
      Maloney, as Receiver, hereby submits his monthly report for November with
      respect to the receivership of the Property, as defined in the Receivership Order.

      The undersigned Receiver hereby declares under penalty of perjury that the
      information set forth in the attached report is true and correct to the best of his
      knowledge, information and belief.

      Please cause the aforementioned to be filed with the Court's records.

      If you have any questions, or any problems with filing the aforementioned
      document, please call me directly at (404) 995-6492. Your assistance is greatly
      appreciated.



      Respectfu   lly submitted,




      Gregory T. Maloney, solely in his capacity as Receiver for certain properly of AIG
      Baker Orange Beach Whad L.L.C appointed by Order of the United States District
      Court for the Southern District of Alabama Southem Division
Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 2 of 8   PageID #: 633




      Ms. Brown
      District Clerk
      December 13,20Il
      Page2



      Enclosure

                  cc:    Sandy G. Robinson
                         CABANISS, JOHNSTON, GARDNER,
                         DUMAS & O'NEAL LLP
                         P. O. Box 2906
                         Mobile, AL 36652
                         Direct Dial: (251) 415-7308



                         Amy McMullen
                         AIG Baker
                         1701 Lee Branch Lane
                         Birmingham, AL35242
                         205-972-9669
           Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 3 of 8                       PageID #: 634
83500                                                                                                           PAGE   1
                                             Detail Income Statement                                            DATE   12t05111
CUSTOM
18768                                                                                                           TIME   14:56:54

                                                           The Wharf
                              For the Eleven Months Ending November 30, 2011




INCOME:

RENTAL INCOME

Minimum Rent                   230,271.17    209,748.20           20,522.97    2,517,764.08     2,559,477.98       <41,71390>
Percentaoe Rent                        .00           .00                 .00   <37,808.40>      <37.808.40>                     .00
 TOTAL RENTAL INCOME           230,271.17    209,748'20           20,522.97    2,479,955.68     2,521,669.58       <41,713.90>

TENANT REIMB INCOME

CAM lncome                      34,574.58     34,88/..32          <309.74>       365,694.91      396,796.58        <31,101.67>
Water/Sewer lnc                  6,0,14.00     5,596.00              448.00       38,500.00       41,300.00         <2,800.00>
Real Estate Taxes Reimb         14,912.26     23,338.06          <8,425.80>      155,060.31      229,718.86        <74,658.55>
Insurance Reimb Income          14,368.96     42,590.59         <28,221.63>      150,548.63      371,615.00       <221,066.37>
TOTAL TEN REIMB INCOME          69,899.80    106,408.97         <36,509.17>      709,803.85     1,039,430.44      <329,626.59>

OTHER INCOME

Specialty Leasing                2,710.83           .00            2,710.83       10,499.49               .00          10,499.49
Misc Operating Income                 .00           .00                  .00      15,476.98               .00          15,476.98
Misc NonOper Income                   .00           .00                  .00         329.28          329.28                     .00
PriorYr Income Adj                    .00           .00                  .00       1,040.u          1.040.84                    .00
TOTAL OTHER INCOME               2,710.83            .00           2,710.83       27,346.59         1,370.12           25,976.47

TOTAL INC FROM OPERATIONS      302,881.80    316,157.17         <13,275,37>    3,2',17,106,12   3,562,470.14      <345,364.02>

EXPENSES

REIMBURSED EXPENSES

Common Area Expenses

R&M-Travel Costs                      .00           .00                  .00         124.95          124.95                     .00
R&M-Fire Supp/Sprinkler               .00           .00                  .00       2,077.00          580.00         <1,497.00>
R&M-Plumbing                      686.00            .00           <686.00>         3,147.60              .00        <3,147.60>
R&M-Other Services                    .00           .00                  .00       2,473.3',1      2,473.3',1                   .00
R&M-Supplies                      206.46         300.00                93.54       3,768.56        2,'t't7.26       <1,651.30>
R&M-Small Equipment                   .00           .00                  .00         300.00              .00           <300.00>
R&M-Maintenance Supplies          347.50            .00           <347.50>         2,057.50              .00        <2,057.50>
R&M-Electrical Supplies               .00        150.00              150.00          182.00        1,050.00                 868.00
R&M-Plumbing Supplies                 .00        150.00              150.00               .00      1,050.00                1,050.00
R&M-Contracted Services               .00       400.00              400.00        16,519.17       17,719.17                1,200.00
R&M-Trash Removal               6,497.69       5,000.00         <1,497.69>        68,407.87       58,733.01         <9,674.86>
R&M-Elevator & Escalator      <9,723.71>            .00            9,723.71       54,801.85       63,739.42                8,937.57
R&M-Roof                              .00      1,000.00            1,000.00               .00      4,000.00                4,000.00
R&M-Plumbing                    <686.00>        250.00              936.00                .00      1,000.00                1,000.00
R&M-Electric                     9,620.10       500.00          <9,120.10>        25,250.5',1      2,000.00        <23,250.51>
R&M-Parking lights                    .00           .00                  .00              .00      2,250.00                2,250.00
R&M-Parking Lot                       .00           .00                  .00              .00      2,000.00                2,000.00
             Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 4 of 8                          PageID #: 635
83500                                                                                                               PAGE      2
                                                   Detail Income Statement                                          DATE      12t05t11
CUSTOM
18768                                                                                                               Tf   ME   14:56:54

                                                                The Wharf
                                Forthe Eleven Months Ending November 30,2011



R&M-Building                                 .00       500.00                500.00            .00      3,500.00                  3,500.00
R&M-Sidewalks & Curbs                        .00       200.00                200.00            .00      1,400.00                  1,400.00


Clean-Pest Control               <1,040.00>           250.00               1,290.00      2,380.00       1,750.00              <630.00>
Janitorial                                   .00          .00                    .00       557.il             .00             <557.54>
Janitorial-Supplies                          .00          .00                    .00     1,292.66             .00          <1,292.66>


R&M-PayMages                      16,386.24         16,807.00                420.76    124,567.91     125,681.47                  1,113.56
R&M-Contracted Services                      .00          .00                    .00     1,200.00             .00          <1,200.00>
R&M-Cleaning                        478.98           1,000.00                521.02     15,135.62      19,500.00                  4,364.38
R&M-Sweeping                                 .00      500.00                 500.00     10,920.00       9,710.00           <1,210.00>


Utilities-Electricity             <464.37>          10,598.00             11,062.37    151,350.49    't28,725.61          <22,624.88>
Utilities-Gas                                .00          .00                    .00      430.87           55.34              <375.53>
Utilities-Water & Sewer          190,094.25          7,000.00       <183,094.25>       356,&16.90      97,411 .97        <259,234.93>
Utilities-Sewer                              .00          .00                    .00      891.00          891.00                       .00
Utilities-Fire                               .00      260.00                260.00       1,005.00       2,825.00                  1,820.00


Landscape.Contr Services                     .00     4,249.00              4,249.00     28,590.00     42,043.00               13,453.00
Landscape-Supplies                           .00     1,000.00              1,000.00      1,848.00       4,000.00             2,152.00
Landscape-Misc                     5,798.29               .00         <5,798.29>         5,798.29             .00          <5,798.29>



Security-PayMages Ext                        .00          .00                    .00      296.13         296.13                        .00
Security-Contract Serv Ext        19,512.65          7,744.00        <1   1,768.65>    118,994.13     79,956.31           <39,037.82>
Security-Supplies Ext               217.91                .00             <2',17.91>     1,478.44            .00           <1,478.44>


Admin-Office Expenses                        .00          .00                    .00     2,886.22            .00           <2,886.22>
Admin-Music/Communication            132.30               .00             <132.30>       1,428.88            .00           <1,428.88>




Admin-Equipment                    <97.75>                .00                97.75       't,327.95        216.45           <1,11 1.50>
Admin-Mgmt Expenses                  189.21               .00             <189.21>       1,197.24            .00           <1,197.24>
Admin-Telephone                              .00      200.00                200.00       4,085.38       3,225.86              <859.52>
Admin-Travel Costs                           .00      s00.00                500.00            .00       3,500.00               3,500.00
Admin-Dues, Memb & Subs                      .00      100.00                100.00            .00        700.00                    700.00
Admin-Postage                                .00      125.00                125.00            .00        875.00                 875.00
Admin-Music/Communication           1   11   .03          .00             <1 11 .03>      606.03           75.90              <530.13>
           Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 5 of 8                         PageID #: 636
83500                                                                                                            PAGE   3
                                             Detail lncome Statement                                             DATE   12t05t11
CUSTOM
18768                                                                                                            TIME   14:56:54

                                                           The Wharf
                               For the Eleven Months Ending November 30,2011




TOTAL CAM EXPENSES
                       riii




                               238,266.78
                                                ri
                                                     ffi$                      ffi
                                              58,783.00 <179,483.78> 1,014,025.00 685,176.16                       <328,948.84>
                                                                                                                                       $


Food Gourt Expenses

Office Bldg Cam Expenses

Real Estate Tax Expense         31,443.09 343,596.00 312,152.9't 294,157.50 445,285.47                               15't,127.97
Sale of Utilities




Other Reimb, Expenses

Insurance-General Liab           3,542.03            .00         <3,542.0D 24,694.26 39,690.75                          14,996.49
Insurance-Propertv              50,016.08            .00        <50.016.0D 547.111.51 747.665.06                     200.553.55
 Other Reimb Expenses           53,558.11            .00        <53,558.11> 571,805.77 787,355.81                    215,550.04

TOTAL REIMB EXPENSES           323,267.98    402,379.00           79,111.02     1,879,988.27      1,917,817,4           37,829.17

OWNERS EXPENSES

Bad Debt Expense               201,632.48    275,967.00           74,334.52     2,523,5s8.01      2,864,984.06       u't,426.05
Mgmt Fees - JLL                 18,195.33      9,000.00          <9,195.33>          166,828.62     80,688.77       <86,139.85>
Professional Feeg

Legal Fees-Other                      .00            .00                 .00             921.00        921.00                    .00
Legal-Oth Fees Outs Counsel     16,113.05            .00        <16,1 13.05>          50,451.14            .00      <50,451.14>
Prof Fees-Other                       .00        125.00              125.00            2,013.75       2,888.75           875.00
 Professional   Fees            16,113.05        125.00         <15,988.05> 53,385.89                 3,809.75      <49,576.14>

Marketing Expenses

Adminlstratlve

Marketing-Supplies                    .00            .00                 .00           4,016.75            .00       <4,016.75>
General Marketing

Advertising

Advertisins-Special   Event           .00            .00                 .00            710.00         710.00                    .00
 Total Property Mkt Expenses          .00            .00                 .00           4,726.75        7{0.00        <4,016.75>

Total Owner Mkt Expenses              .00        7s0.00              750.00               50.00      5,250.00           5,200.00
 Marketing Expenses                   .00        750.00              750.00            4,776.75       5,960.00              1,183.25

Miscellaneous Expenses

Ownefs R&M

Non-Recoverable Rep&Maint             .00            .00                 .00           2,323.07        357.77        <1,965.30>
Owne/s R&M-Supplies                   .00        100.00              100.00                 .00        700.00                700.00
Owne/s R&M-Office Supply              .00            .00                 .00           3,218.81            .00      <3,218.81>
Owne/s R&M-Misc                   151.40         125.00             <26.40>             711.50        1,004.32               292.82
R&M-Signs                             .00        100.00              100.00                 .00        700.00                700.00
Owne/s R&M-Roof                       .00        500.00              500.00                 .00      2,000.00           2,000.00
Owne/s Adm-Pay/Benefi ts              .00            .00                 .00            683.98         683.98                    .00
          Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 6 of 8                                           PageID #: 637
83500                                                                                                                                  PAGE   4
                                                  Detail lncome Statement                                                              DATE   ',t2tl5t11
CUSTOM
18768                                                                                                                                  TIME   14:56:54

                                                                 The Wharf
                                  For the Eleven Months Ending November 30,2011




Owne/s Utilities

Owne/s Util-Electric                <162.19>         2,000.00            2,162.'t9          2,000.9'l                   14,150.00             12,149.09
Owne/s Util-HVAC                           .00             .00                  .00            715.00                            .00          <715.00>
Owne/s Util-Gas                            .00             .00                  .00            236.22                      175.34                 <60.88>
Owneds Util-Water/Sewer                    .00         100.00                100.00             14.64                      700.00                  685.36
Other Owne/s Expenses

Adm Other-Telephone                        .00         300.00              300.00            1,639.35                    3,696.39                 2,057.04
Adm Other-Service Charge                  1.80             .00             <1.90>            1,039.35                            .00       <1,039.35>
Owne/s Adm-Equipment                       .00             .00                  .00         2,757.03                     1,309.95          <1,447.08>
Owner's Adm-Office Exp                     .00             .00                  .00            108.14                    <13.54>              <'121.68>
Owne/s Adm-Telephone                       .00             .00                  .00        18,005.54                     8,025.72          <9,979.82>
Owne/s AdmPostage                          .00          50.00                 50.00         1,',t85.77                     509.84             <675.93>
Owne/s AdmTravel Costs                     .00             .00                  .00         3,589.62                       156.80          <3,432.82>
Owneds Adm-Misc                      1,778.07       10,000.00            8,221.93           5,480.94                    72,600.16             67,119.22
 Owners Operation Exp                1,769.08       't3,275.00          11,505.92          43,709.87                 106,756.73               63,046.86

Ownefs Misc Expenses

Non-Recover-MisoPrior Yr                   .00                                  .00        <569.34>                              .00               569.34
TOTAL OWNERS EXPENSE               237,709.91      299,117.00           6't,407.06      2,791,689.80               3,062,199.31            270,509.51

TOTAL OPERATING EXPENSES           560,977.92      701,496.00          140,518.08       4,671,678,07               4,980,016.75            308,338.68
NET OPERATING INCOME

BEFORE INTEREST & DEPR

INCOME & EXPENSE                 <258,096.12>    <385,338.83>          127,242.71     <1,454,571.95>         <1,417,546.61>               <37,025.U>
lnterest Expense

Int Exp-1st Mort Payable                   .00            .00                   .00      536,999.99                 536,999.99                         .00
 Intorest Expense                          .00            .00                   .00       536,999.99                536,999.99                         .00

Depreciation

Deprec Exp-Building                        .00            .00                   .00        43,468.53\        /,,
                                                                                                             try\       43,468.53                      .00
                                                                         <80.20>                              "                               <u9.25>
Deprec Exp-Bldg lmprove             14,674.69       14,594.49                             117,420.'l   L--          1   17,070.86
Deprec Exp-Land lmprove              8,142.90        8,142.90                   .00        8s,571.et (2)                8e,571.e0                      .00
Deprec Exp-FF&E                      1,696.47        1,656.47                   .00        18,661.17     l"             18,661.17                      .00
                                                                                                         I
Deprec Exp-Tenant lmp Init          59,364.s,|      66,538.00            7,173.49        709,509.87V'               730,805.97                21,296.10
Amort-Deferred Lease Cost                  .00            .00                   .00         4,751.43                     4,751   .43                   .00
 Total Depreciation Exp€nse         83,878.57       90,971.86            7,093.29        983,383.01                1,0{14,329.86              20,946.85

Amortization

 Total Depr/Amort Expense           83,878.57       90,971.86            7,093.29        983,383.01                1,004,329.86               20,9'16.85

NET INCOME                       <341,974.69>    <476,310.69>         134,336.00 <2,974,954.95> <2,959,976.46>                            <16,079.49>

 Footnotes:
(1) Depreciation Expense - Building & Building lmprovements:
Building Asset was not previously booked on the property's books and amounts being depreciated are
related to Building lmprovement asset based on previous classification by borrower. JLL was not able
to obtain any additional information regarding these asset balances and therefore is unable to support the
YTD depreciation expense at this time.
(2) Depreciation Expense - allother FXA accounts:
Depreciation expense was booked based on schedules obtained from borrower. JLL has reviewed the methods and is in
agreement with borrower's methodology.
            Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 7 of 8              PageID #: 638

83500                                                                                                 PAGE   1
                                             Detail Income Statement                                  DATE   12t05t11
CUSTOM
't8769tS                                                                                              TIME   15:47:34.

                                             The Wharf Ferris Wheel
                               For the Eleven Months Ending November 30,2011




INCOME:

RENTAL INCOME

TENANT REIMB INCOME

Misc Operating Income              129.16           .00         129.16     1,403.04       1,183.75                 219.29
Merchandies Sales                     .00           .00            .00         820.11       370.93                 449.18
Fenis Wheel Ticket Sales         1,078.11      4,000.00     <2,921.89>   116,075.86      57,807.20           58,268.66
 Total Miscellaneous Income      1,207.27      4,000.00     <2,792.73>   118,299.01      59,361.88           58,937.13

TOTAL INC FROM OPERATIONS        1,207.27      4,000.00     <2,792.73>   118,299.01      59,361,88           58,937.13

EXPENSES

REIMBURSED EXPENSES

Common Area Expenses

R&M-HVAC Service                      .00           .00            .00         385.00           .00          <385.00>
R&M-Equipment                         .00           .00            .00     4,094.40             .00      <4,094.40>
R&M-Radio                             .00           .00            .00         346.50           .00          <346.50>
R&M-Misc                              .00      2,000.00       2,000.00     8,391.00       8,000.00           <391.00>
 Total R&M Exp                        .00      2,000.00       2,000.00    13,216.90       8,000,00       <5,216.90>

R&M-Other Services                    .00           .00            .00         260.51       260.51                    .00
 Total Janitorial                     .00           .00            ,00         260.51       260.51                    .00

Utilities-Electricity             321.00            .00      <321.00>      1,525.00             .00      <1,525.00>
Utilities-Sewer                       .00           .00            .00          28.00        28.00                    .00
 Total Utilities                  321.00            .00      <321.00>      1,553.00          28.00       <1,525.00>

Direc.t Costs Subcontract             .00           .00            .00    18,522.91      18,522.9'l                   .00
Merchant Fees                         .00           .00            .00         725.88       725.88                    .00
LOGO Merchandies COG                  .00           .00            .00         215.93       215.93
 Total Other Common Arca              .00           .00            .00    19,4il.72      19,4il,72                    .00

Admin-Other Tax & lic Fee             .00           .00            .00         174.51       174.51                    .00
 Total Administration                 ,00           .00            .00         174.51       174.51                    .00

 TOTAL COMMON AREA EXP            321.00       2,000.00       1,679.00    34,669.64      27,927.74       <6,741.90>

Real Estate Tax Expense           108.24            .00      <108.24>          865.92       108.24           <757.68>
Sale of Utilities

lnsurance-General Liab           1,065.10           .00    <1,065.10>     11,467.82      16,048.51               4,580.69
Other lnsurance                       .00           .00            .00            .02           .02                   .00
 Total Other Reimb Expenses      1,065.10           .00    <1,065.10>     'tI,467.U      16,048.53               4,580.69

TOTAL REIMB EXPENSES             1,494.34      2,000.00                   47,003.40      4,08/..51       <2,9't8.89>

OWNERS EXPENSES

Professional Fees

Marketing Expenses

Administrative
           Case 1:11-cv-00126-CG-M Document 31 Filed 12/15/11 Page 8 of 8                PageID #: 639
83500                                                                                                   PAGE   2
                                            Detail lncome Statement                                     DATE   12t05t11
CUSTOM
 18769tS                                                                                                Tt{E   t5:4V:M

                                             The Wharf Ferris Wheel
                              For the Eleven Months Ending November 39,2011




General Marketing

Advertising

Miscellaneous Expenses

Owner's R&M

Non-Recoverable Rep&Maint             .00           .00            .00         355.50             .00          <355.50>
Owne/s R&M-Equipment                  .00           .00            .00         361.29         361.29                  .00
Owne/s R&M-Misc                       .00           .00            .00         500.50         500.s0                  .00
Non-Recoverable Admin Exp             .00           .00            .00         889.39         889.39                  .00
Ownefs Utilities

Owne/s Util-Electric                  .00           .00            .00       1,030.00       1,030.00                  .00
Owner's Util-Sewer                    .00           .00            .00          56.84          56.84                  .00
Other Ownefs Expenses

Ownefs Adm-Equipment                  .00           .00            .00         150.00         150.00
Owne/s Adm-Office Exp                 .00           .00            .00         460.37         460.37                  .00
Owner's Adm-Telephone                 .00           .00            .00         216.18         216.'t8                 .00
Owne/s Adm-Misc                     30.84      1,000.00        969.16          952.93       7.423.59            6,470.66
 Total Owners Operation Exp         30.84      1,000.00        969.16        4,973.00      11,088.16            6,1 15.16

Owner's Misc. Expenses

Personal Property Tax                               .00            .00       2.080.00       2.080.00                  .00
 Total Owne/s Misc Expense            .00           .00            .00       2,080.00       2,080.00                  .00

Total Ownefs Expenser               30.84      1,000.00        969.16        7,053.00      13,168.16            6,1 15.16

TOTAL OPERANNG EXPENSES          1,525.18      3,000.00      1,474.82       3r,056.40      57,252.67            3,156.27
NET OPERATING INCOME

BEFORE INTEREST & DEPR

INCOME & EXPENSE                <317.91>       1,000,00    <1,317.9'l>      64,242,61       2,109.21           62,133.40

Realized Gain/Loss on R/E

Depc Exp-Fenis Wheel            20,806.77     20,806.77            .00     228,874.47     228,874.47                 .00
Discounts Eamed                       .00           .00            .00       <43.76>        <43.76>                  .00
NET INCOME                    <21,124,68>   <19,806.77>    <1,317.91>    <164,588.10>   <226,721.50>           62,r33.40
